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PAULA A. ATES & ASSOCIATES, L.L.C. 7**™®

Paula Adams Ates
Attorney-At-Law

August 24, 2018

Ms. Lea Griffin

Clerk of Court

US. Federal District Court Nevada
400 South Virginia Street, Suite 301
Reno, NV 89501

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Re: _ Registration of a Foreign Judgment
Dear Ms. Griffin:

Thank you for your help this afternoon regarding the registration of a Foreign Judgment
in Nevada from the U.S. District Court in Louisiana.. In that regard, attached is the “Clerk’s
Certification of a Judgment to Be Registered in Another District” and a Certified True Copy of
that Judgment from the Eastern District Court in Louisiana. As discussed. please use a Las
Vegas docket number. .

As instructed, enclosed is my firm’s check no.1061 in the amount of Forty-Seven and
00/100 Dollars ($47.00) to register this Judgment in Nevada.

Should you have any questions or if you need additional information from me, please call
me at 504-737-1600.

Once again thank you for your help. With best wishes, I am

ks
A Kk fh Me

Copy: Bryan M. Viellion (Via e-mail only: bviellion@konvlaw.com)

Enclosures

10557 AIRLINE HIGHWAY Telephone: 504-737-1600
ST. ROSE, LOUISIANA 70087 Facsimile: 504-737-1660
